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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                  Cr. 24-1809 MIS

KEVIN RODRIGUEZ-MUNOZ,

       Defendant.

             ORDER REGARDING SENTENCING MOTIONS AND PROCEEDINGS

       This matter comes before the Court sua sponte with respect to objections to the

Presentence Report (PSR), motions for departure or variance, and any other sentencing

memoranda the parties may wish to file.

       All objections and corrections made pursuant to Federal Rules of Criminal Procedure

32(f) (“informal objections”) must be made within 14 days from the date on which the PSR is

disclosed.

       In accordance with D.N.M.LR Crim. 32.C, any objections filed to the PSR, any motion

for departure or variance, and any additional material for consideration, including sentencing

memorandum, must be filed within twenty-one (21) days from the date on which the PSR is

disclosed. Any response to the objection or motion must be filed within seven (7) calendar dates

from the date on which the objection or motion is filed.

       Extensions will not be granted absent a showing of good cause by written motion.

       IT IS SO ORDERED.


                                                     ___________________________________
                                                     UNITED STATES DISTRICT JUDGE
